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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )                  8:06CR119
                                            )
             v.                             )
                                            )
LEONEL GARCIA-PADILLA,                      )                    ORDER
                                            )
                     Defendant.             )
                                            )


      On the court’s own motion, the hearing on defendant’s 28 U.S.C. §2555 Motion to
Vacate (Filing No. 131), is rescheduled to August 28, 2009, at 1:30 p.m. Courtroom No.
3, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
      The defendant will not appear in person at the hearing. If the defendant wishes to
participate telephonically, his attorney must make the necessary arrangements through the
Bureau of Prisons.
      DATED this 8th day of April, 2009.

                                           BY THE COURT:



                                           s/ Joseph F. Bataillon
                                           Chief United States District Judge
